     Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 1 of 16 PageID #: 1




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

LEVEL SLEEP LLC,

                Plaintiff

v.
                                                       Case No.: _____________________
DORMEO NORTH AMERICA, LLC; TOP
SHOP T.V. LLC (dba DORMEO
                                                       JURY TRIAL DEMANDED
OCTASPRING, LLC); OCTASPRING
OPERATIONS US, INC.; and OCTASPRING
US, INC.,

                Defendants.



                        COMPLAINT FOR PATENT INFRINGEMENT

         Level Sleep LLC (“Plaintiff” or “Level Sleep”), by and through its undersigned attorneys,

hereby alleges as follows, upon actual knowledge with respect to itself and its own acts, and

upon information and belief as to all other matters.

                                    NATURE OF THE CASE

         1.     This is an action for patent infringement under 35 U.S.C. § 271, et seq. by Level

Sleep against defendants Dormeo North America, LLC, Top Shop T.V. LLC (dba Dormeo

Octaspring, LLC), Octaspring Operations US, Inc., and Octaspring US, Inc. (collectively,

“Dormeo”) for infringement of U.S. Patent No. 6,807,698 (the “’698 Patent”) and U.S. Patent

No. 7,036,172 (the “’172 Patent”) (collectively, the “Level Sleep Patents”).

         2.     Dormeo infringes the Level Sleep Patents by, among other things, making, using,

offering for sale, or selling within the United States, and/or importing into the United States,

beds with sleep surfaces having multiple zones in the longitudinal direction providing low body
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 2 of 16 PageID #: 2




pressure and spinal alignment. Dormeo also infringes the Level Sleep Patents indirectly through

the direct-infringement activities of third parties including its distributors, resellers, and/or

customers.

        3.      Level Sleep seeks damages and injunctive relief for Dormeo’s patent

infringement.

                                              PARTIES

        4.      Plaintiff Level Sleep is a limited liability company with its principal place of

business in Sonoma, California. Level Sleep is in the business of designing, developing, and

selling mattresses, pillows, and related products that enhance sleep, lower pain and stiffness, and

reduce tossing and turning at night.

        5.      On information and belief, defendant Dormeo North America, LLC is a limited

liability company registered to do business in the State of Texas with a principal place of

business located in Plano, Texas.

        6.      On information and belief, defendant Top Shop T.V. LLC is registered to do

business in the State of Texas under the fictitious business name Dormeo Octaspring, LLC and is

a subsidiary of defendant Dormeo North America, LLC.

        7.      On information and belief, defendant Octaspring Operations US, Inc. is registered

to do business in the State of Texas and is a subsidiary of defendant Top Shop T.V. LLC (dba

Dormeo Octaspring, LLC).

        8.      On information and belief, defendant Octaspring US, Inc. is registered to do

business in the State of Texas and is a subsidiary of defendant Top Shop T.V. LLC (dba Dormeo

Octaspring, LLC).




                                                   2
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 3 of 16 PageID #: 3




                                 JURISDICTION AND VENUE

       9.      The Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1338(a) because this is a complaint for patent infringement.

       10.     The Court also has personal jurisdiction over the defendants. On information and

belief, Dormeo conducts business and has committed acts of infringement in this district and

elsewhere in the United States by making, using, offering for sale, selling, and/or importing

Dormeo multi-zone mattresses providing low body pressure and spinal alignment. Further, the

exercise of personal jurisdiction over Dormeo in this case would comport with principles of fair

play and substantial justice.

       11.     Venue is proper in this District because, on information and belief, the defendants

have a regular and established place of business in this District including a principal place of

business located in Plano (1901 10th Street, Suite 500, Plano, Texas, 75074).

                                        BACKGROUND

       12.     Level Sleep was founded with the goal of providing its customers with better

sleep. One of the co-founders, Roger Sramek, is an inventor named on eight United States

patents, and additional pending patent applications, covering pillows and mattresses designed

specifically to improve sleep. The company sells its patented and proprietary mattresses,

pillows, and other sleep-enhancing products from its original location and “Experience Center”

in Sonoma, California, and through the company’s website (www.levelsleep.com).

       13.     Level Sleep is the owner by assignment of United States patent applications and

granted patents on innovations in mattress and related sleep technology that serve to achieve

these benefits, including the Level Sleep Patents. Level Sleep’s practice has been to mark its

commercial products with relevant patent numbers, including the Level Sleep Patents.




                                                 3
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 4 of 16 PageID #: 4




       14.     Dormeo manufactures and sells mattresses, beds, and pillows. Among other

products, Dormeo sells a line of mattresses called the Dormeo Octaspring that infringe the Level

Sleep Patents, as discussed further below. On information and belief, Dormeo manufactures the

infringing mattresses in the United States, including in this District, and sells them from retail

stores located in Texas and Oklahoma.

                                 FIRST CLAIM FOR RELIEF
                          (Infringement of U.S. Patent No. 6,807,698)

       15.     Level Sleep incorporates the preceding paragraphs as though fully stated here.

       16.     Level Sleep is the owner of all rights, title, and interest in the ’698 Patent, which

is entitled “Bed Having Low Body Pressure and Alignment” and issued on October 26, 2004. A

true and correct copy of the ’698 Patent is attached as Exhibit A.

       17.     The ’698 Patent is directed to a mattress with multiple layers and zones to support

the reclining body in alignment and with lower pressure. For example, claim 1 reads as follows:

       1. A mattress extending in a longitudinal direction, from a mattress head to a
       mattress foot, and extending in a lateral direction, normal to the longitudinal
       direction, for supporting a first reclining body, said body including a head part, a
       shoulder part, a waist part, a hip part and a leg part for reclining in the
       longitudinal direction with the head part toward the mattress head and the leg part
       toward the mattress foot, said mattress comprising,
       a resilient top member having a top region possessing uniform displacement
       parameters for providing a uniform supporting surface pressure to the reclining
       body,
       resilient supporting means below said top member, said resilient supporting
       means extending in said lateral direction and in said longitudinal direction with
       differing displacement parameters along the longitudinal direction for imparting
       differing vertical compressions along the longitudinal direction in the presence of
       said reclining body, said resilient supporting means for coacting with said top
       member for establishing alignment of the shoulder, waist and hip parts and for
       establishing low supporting surface pressure on the body,
       a cover for covering said resilient top member and said resilient supporting means
       without interfering with the displacement parameters and the vertical
       compressions when supporting said reclining body.




                                                  4
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 5 of 16 PageID #: 5




       18.     On information and belief, Dormeo infringes at least claim 1 of the ’698 Patent by

making, using, offering for sale, and selling in the United States and/or importing into the United

States infringing products including at least its Octaspring mattresses.

       19.     Dormeo markets its Octaspring mattresses claiming: “In each DORMEO

Mattress, hundreds of Octasprings are assembled into seven zones of comfort -- softer for your

head, more supportive for your hips and thighs. No pressure points, just equally distributed

weight, adapting to each sleeper’s body weight with customer support.”




(www.dormeo.com/technology.html).

       20.     The following image from the Dormeo website shows the various layers and

zones of the Dormeo mattress.




                                                 5
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 6 of 16 PageID #: 6




Among other things, this picture shows a resilient top member (directly above the upper layer of

Octasprings) with a top region possessing uniform displacement parameters for providing a

uniform supporting surface pressure to a reclining body, as recited in claim 1. This image also

shows that the bed includes resilient supporting means below the top member, also as recited in

the claim.

       21.     The Dormeo mattresses have differing displacement parameters along the

longitudinal direction for imparting differing vertical compressions so that the resilient

supporting means coacts with the top member to provide alignment of the shoulder, waist, and

hip parts and for establishing low supporting surface pressure on the body, as recited in claim 1.

As Dormeo itself admits, its mattresses include “Octasprings positioned into zones, offering

more support for your hips and thighs, softer for your head and shoulders, keeping your spine in

complete alignment.”




                                                 6
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 7 of 16 PageID #: 7




(www.dormeo.com/mattress.html). Dormeo further claims to provide “a high level of pressure

relieving comfort.”

       22.     In addition, Dormeo mattresses include a cover for covering the resilient top

member and said resilient supporting means without interfering with the displacement

parameters and the vertical compressions of the bed, as recited in claim 1. For example, Dormeo

states on its website that its mattresses include a “Plush cover with Tencel® [that] is softer than

silk, cooler than linen, more absorbent than cotton and eco-friendly.”




(www.dormeo.com/mattress.html).




                                                 7
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 8 of 16 PageID #: 8




       23.     Through its actions, as described above, Dormeo has directly infringed and

continues to infringe at least claim 1 of the ’698 Patent, either literally or through the doctrine of

equivalents, under 35 U.S.C. § 271(a).

       24.     In addition, Dormeo is indirectly responsible for the past and continuing direct

infringement of at least claim 1 of the ’698 Patent by certain third parties, including its customers

and others, who have purchased and assembled Dormeo mattresses. When Dormeo’s infringing

mattresses are made, used, offered for sale, or sold by its customers and others, such action

constitutes direct infringement of at least claim 1 of the ’698 Patent. Furthermore, Dormeo has

had knowledge of the ’698 Patent since, at latest, the date this complaint was filed. Thus,

Dormeo knows and has known (or has been willfully blind to the fact) that its customers and

other third parties directly infringe claims of the ’698 Patent through their making, using,

offering for sale, or selling within the United States the infringing Dormeo mattresses.

       25.     On information and belief, Dormeo has specifically intended to induce, and has

induced, its customers and others to directly infringe at least claim 1 of the ’698 Patent through

its instructions to its customers and others in the use and assembly of its beds. On information

and belief, Dormeo provides instructional and other explanatory materials to its customers and

others that describe the proper assembly and use of its beds. Further, on information and belief,

Dormeo actively encouraged and continues to actively encourage its customers and others to

directly infringe the ’698 Patent by making, using, testing, offering for sale, and selling the

infringing Dormeo mattresses. Thus, Dormeo has induced, and continues to induce,

infringement of at least claim 1 of the ’698 Patent under 35 U.S.C. § 271(b).

       26.     Additionally, Dormeo has contributorily infringed and continues to contributorily

infringe under 35 U.S.C. § 271(c) at least claim 1 of the ’698 Patent. As explained above,




                                                  8
  Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 9 of 16 PageID #: 9




certain third parties including Dormeo’s customers have been infringing and continue to directly

infringe at least claim 1 of the ’698 Patent. Dormeo makes, uses, offers for sale, and sells to its

customers the Dormeo mattresses, which are especially made or adapted by Dormeo to be or

include a component, material, or apparatus of the claims of the ’698 Patent and are not staple

articles or commodities of commerce capable of substantial non-infringing use. As discussed

above in describing Dormeo’s direct infringement, the components of the infringing Dormeo

mattresses individually and together constitute a material part of the invention claimed in at least

claim 1 of the ’698 Patent. Furthermore, on information and belief, Dormeo has known that one

or more of the components of the Dormeo mattresses were made or adapted for use in these

particular infringing products. Additionally, Dormeo has had knowledge of the ’698 Patent and

has known or been willfully blind to the foregoing third-party direct infringement since at least

the filing of this complaint and the contentions recited herein.

       27.     As a result of Dormeo’s infringement of the ’698 Patent, Level Sleep has suffered

and will continue to suffer monetary damages, including lost profits and a reasonable royalty,

that are compensable under 35 U.S.C. § 284 in an amount to be determined at trial.

       28.     Unless an injunction is issued enjoining Dormeo, and anyone acting on its behalf,

from infringing the ’698 Patent, Level Sleep will continue to be irreparably harmed. Further, the

balance of hardships between Level Sleep and Dormeo, as well as the public interest, warrants

such an injunction.

                               SECOND CLAIM FOR RELIEF
                          (Infringement of U.S. Patent No. 7,036,172)

       29.     Level Sleep incorporates the preceding paragraphs as though fully stated here.




                                                 9
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 10 of 16 PageID #: 10




       30.     Level Sleep is the owner of all rights, title, and interest in the ’172 Patent, which

is entitled “Bed Having Low Body Pressure and Alignment” and issued on May 2, 2006. A true

and correct copy of the ’172 Patent is attached as Exhibit B.

       31.     The ’172 Patent is directed to a mattress with multiple layers and zones to support

the reclining body in alignment and with lower pressure. For example, claim 1 reads as follows:

       1. A mattress, extending in a lateral direction from side to side and extending in a
       longitudinal direction from a mattress head to a mattress foot, for supporting a
       reclining body, said mattress including a head part, a shoulder part, a waist part, a
       hip part and a leg part, said reclining body having a displacement profile, said
       mattress comprising,
       a core extending in said longitudinal direction and in said lateral direction, said
       core for undergoing differing vertical displacements when supporting the
       reclining body,
       said core having displacement parameters varying to match the displacement
       profile of the reclining body whereby the reclining body is supported by low body
       pressure,
       said core having a plurality of regions where the vertical displacement in one or
       more of the regions varies to match the displacement profile of the reclining body
       to maintain the reclining body in alignment,
       said core including one or more foam members having structural modification
       where the one or more foam members at different longitudinal positions exhibit
       different displacement parameters including different ILDs to support the
       reclining body with low body pressure and exhibits different vertical
       displacements to maintain the reclining body in alignment.

       32.     On information and belief, Dormeo infringes at least claim 1 of the ’172 Patent by

making, using, offering for sale, and selling in the United States and/or importing into the United

States infringing products including at least its Octaspring mattresses.

       33.     Dormeo sells a number of different beds that infringe the ’172 Patent. For

instance, Dormeo markets its Octaspring mattresses claiming: “In each DORMEO Mattress,

hundreds of Octasprings are assembled into seven zones of comfort -- softer for your head, more

supportive for your hips and thighs. No pressure points, just equally distributed weight, adapting

to each sleeper’s body weight with customer support.”


                                                 10
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 11 of 16 PageID #: 11




(www.dormeo.com/technology.html).

       34.     The following image from the Dormeo website shows the various layers and

zones of the Dormeo mattress.




As illustrated and discussed further below, the Dormeo mattress extends in a lateral direction

from side to side and extends in a longitudinal direction from a mattress head to a mattress foot,



                                                11
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 12 of 16 PageID #: 12




for supporting a reclining body, said mattress including a head part, a shoulder part, a waist part,

a hip part and a leg part, said reclining body having a displacement profile, as recited in claim 1.

As shown above, the Dormeo mattress includes a core (including the Octasprings) extending in

said longitudinal direction and in said lateral direction, as recited in claim 1.

       35.     The core in the Dormeo mattress undergoes differing vertical displacements when

supporting the reclining body, as recited in claim 1. As Dormeo itself admits, its mattresses

include “Octasprings positioned into zones, offering more support for your hips and thighs,

softer for your head and shoulders, keeping your spine in complete alignment.”




(www.dormeo.com/mattress.html). Dormeo further claims to provide “a high level of pressure

relieving comfort.” Thus, the mattress core has displacement parameters varying to match the

displacement profile of the reclining body whereby the reclining body is supported by low body

pressure and maintained in alignment, as recited in claim 1.

       36.     In addition, the Dormeo mattress core includes foam members having structural

modification so that at different longitudinal positions the foam member exhibits different

displacement parameters including, on information and belief, different ILDs (i.e., Indentation

Load Deflection) to support the reclining body with low body pressure and exhibiting different

vertical displacements to maintain the reclining body in alignment, as recited in claim 1.


                                                  12
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 13 of 16 PageID #: 13




Dormeo describes the foam members (i.e., Octasprings) as follows: “A cross between a spring

coil and memory foam, Octasprings are the power behind DORMEO® Mattresses legendary

comfort. Pressure-relieving and open to air flow, each Octaspring features eight reinforcements,

a series of air vents and a hole in the center that lets humid air pass through.”

(www.dormeo.com/technology.html).

       37.     Through its actions, as described above, Dormeo has directly infringed and

continues to infringe at least claim 1 of the ’172 Patent, either literally or through the doctrine of

equivalents, under 35 U.S.C. § 271(a).

       38.     In addition, Dormeo is indirectly responsible for the past and continuing direct

infringement of at least claim 1 of the ’172 Patent by certain third parties, including its customers

and others, who have purchased and assembled Dormeo mattresses. When Dormeo’s infringing

mattresses are made, used, offered for sale, or sold by its customers and others, such action

constitutes direct infringement of at least claim 1 of the ’172 Patent. Furthermore, Dormeo has

had knowledge of the ’172 Patent since, at latest, the date this complaint was filed. Thus,

Dormeo knows and has known (or has been willfully blind to the fact) that its customers and

other third parties directly infringe claims of the ’172 Patent through their making, using,

offering for sale, or selling within the United States the infringing Dormeo mattresses.

       39.     On information and belief, Dormeo has specifically intended to induce, and has

induced, its customers and others to directly infringe at least claim 1 of the ’172 Patent through

its instructions to its customers and others in the use and assembly of its beds. On information

and belief, Dormeo provides instructional and other explanatory materials to its customers and

others that describe the proper assembly and use of its beds. Further, on information and belief,

Dormeo actively encouraged and continues to actively encourage its customers and others to




                                                  13
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 14 of 16 PageID #: 14




directly infringe the ’172 Patent by making, using, testing, offering for sale, and selling the

infringing Dormeo mattresses. Thus, Dormeo has induced, and continues to induce,

infringement of at least claim 1 of the ’172 Patent under 35 U.S.C. § 271(b).

       40.     Additionally, Dormeo has contributorily infringed and continues to contributorily

infringe under 35 U.S.C. § 271(c) at least claim 1 of the ’172 Patent. As explained above,

certain third parties including Dormeo’s customers have been infringing and continue to directly

infringe at least claim 1 of the ’172 Patent. Dormeo makes, uses, offers for sale, and sells to its

customers the Dormeo mattresses, which are especially made or adapted by Dormeo to be or

include a component, material, or apparatus of the claims of the ’172 Patent and are not staple

articles or commodities of commerce capable of substantial non-infringing use. As discussed

above in describing Dormeo’s direct infringement, the components of the infringing Dormeo

mattresses individually and together constitute a material part of the invention claimed in at least

claim 1 of the ’172 Patent. Furthermore, on information and belief, Dormeo has known that one

or more of the components of the Dormeo mattresses were made or adapted for use in these

particular infringing products. Additionally, Dormeo has had knowledge of the ’172 Patent and

has known or been willfully blind to the foregoing third-party direct infringement since at least

the filing of this complaint and the contentions recited herein.

       41.     As a result of Dormeo’s infringement of the ’172 Patent, Level Sleep has suffered

and will continue to suffer monetary damages, including lost profits and a reasonable royalty,

that are compensable under 35 U.S.C. § 284 in an amount to be determined at trial.

       42.     Unless an injunction is issued enjoining Dormeo, and anyone acting on its behalf,

from infringing the ’172 Patent, Level Sleep will continue to be irreparably harmed. Further, the




                                                 14
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 15 of 16 PageID #: 15




balance of hardships between Level Sleep and Dormeo, as well as the public interest, warrants

such an injunction.

                                     PRAYER FOR RELIEF

       WHEREFORE, Level Sleep respectfully requests that the Court enter judgment in its

favor and against Dormeo on this complaint as follows:

       A.      A judgment that Dormeo has directly infringed, induced others to infringe, and

contributed to the infringement of the Level Sleep Patents;

       B.      A judgment requiring Dormeo to pay to Level Sleep damages resulting from the

infringement of the Level Sleep Patents along with costs, expenses, pre-judgment interest, and

post-judgment interest;

       C.      A judgment holding that this is an exceptional case and awarding Level Sleep its

attorney fees and costs pursuant to 35 U.S.C. § 285;

       D.      A judgment imposing permanent injunctive relief prohibiting Dormeo, and all

those acting in privity or acting in concert with it, from infringing, inducing, or contributing to

the infringement of the Level Sleep Patents;

       E.      An accounting and supplemental damages for all damages occurring after the

period for which damages discovery is taken, and after discovery closes, through the Court’s

decision regarding the imposition of a permanent injunction;

       F.      An order directing Dormeo to deliver to Level Sleep, for destruction at Level

Sleep’s option, all infringing products; and

       G.      Any other relief that the Court deems just and proper.




                                                 15
Case 2:18-cv-00120-RWS Document 1 Filed 03/27/18 Page 16 of 16 PageID #: 16




                                 DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Level Sleep hereby demands a trial by

jury on all issues so triable.

Dates: March 27, 2018                               Respectfully submitted,



                                                    By: /s/ Deron R. Dacus
                                                    Deron R. Dacus
                                                    State Bar No. 00790553
                                                    The Dacus Firm, P.C.
                                                    821 ESE Loop 323, Suite 430
                                                    Tyler, TX 75701
                                                    Phone: (903) 705-1117
                                                    Fax: (903) 581-2543
                                                    ddacus@dacusfirm.com

                                                    James L. Day
                                                    California State Bar No. 197158
                                                    Farella Braun + Martel LLP
                                                    235 Montgomery Street, 17th Floor
                                                    San Francisco, CA 94104
                                                    Phone: (415) 954-4400
                                                    Fax: (415) 954-4480

                                                    Counsel for Plaintiff Level Sleep LLC




                                               16
